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  1   Gary A. Praglin, Esq. (SBN 10125)
      gpraglin@cpmlegal.com
  2
      Kelly W. Weil, Esq. (SBN 291398)
  3   kweil@cpmlegal.com
  4
      Hannah K. Brown, Esq. (SBN 337592)
      hbrown@cpmlegal.com
  5   COTCHETT, PITRE & MCCARTHY, LLP
  6
      2716 Ocean Park Blvd., Suite 3088
      Santa Monica, CA 90405
  7   Tel: (310) 392-2008
  8   Fax: (310) 392-0111

  9   Alexander M. Schack, Esq. (SBN 99126)          Gregory J. Hout, Esq. (SBN 135746)
 10   alexschack@schacklawgroup.com                  ghout@houtlaw.com
      Natasha N. Serino, Esq., (SBN 284711)          LAW OFFICES OF GREGORY J.
 11   natashaserino@schacklawgroup.com               HOUT
 12   Shannon F. Nocon, Esq., (SBN 316523)           12396 World Trade Drive, Suite 206
      shannonnocon@schacklawgroup.com                San Diego, CA 92128
 13   Jordan L. Kellogg, Esq., (SBN 347421)          Tel: (858) 946-6658
 14   jordan@schacklawgroup.com                      Fax: (858) 946-6659
      SCHACK LAW GROUP
 15   16870 West Bernardo Drive, Suite 400
 16   San Diego, CA 92127
      Tel: (858) 485-6535
 17   Fax: (858) 485-0608
 18
      Attorneys for Plaintiffs
 19
                                 UNITED STATES DISTRICT COURT
 20
                             CENTRAL DISTRICT OF CALIFORNIA
 21
 22
      IN RE NURSERY PRODUCTS                      CASE NO.: 5:22-cv-01866-FLA-SHK
 23   LITIGATION
                                                  NOTICE OF VOLUNTARY
 24
                                                  DISMISSAL WITHOUT PREJUDICE
      This Document Relates To: All Actions
 25                                               PURSUANT TO FRCP 41
 26
 27
 28                                           1
      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
      PURSUANT TO FRCP 41;
      LEAD CASE NO. 5:22-cv-01866-FLA-SHK
Case 5:22-cv-01866-FLA-SHK Document 228 Filed 02/13/24 Page 2 of 3 Page ID #:1297



  1         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs, by and
  2   through their respective counsel in the above-captioned action entitled In Re Nursery
  3   Products Litigation, hereby DISMISS WITHOUT PREJUDICE the consolidated
  4   actions (Nos: 5:22-cv-01866, 5:23-cv-00512, and 5:23-cv-02120) as to Defendant The
  5   Goldman Sachs Group, Inc. (hereinafter “Goldman Sachs”) only, notwithstanding
  6   Plaintiffs’ claims against the additional Defendants in this action which are currently
  7   pending within this Court. Goldman Sachs agrees to waive any fees and costs incurred in
  8   exchange for this dismissal.
  9         By filing this notice, the undersigned counsel certifies that no answer or motion
 10   for summary judgment has previously been served in response to all Plaintiffs’
 11   complaints to which this notice applies.
 12
 13   Dated: February 13, 2024              SCHACK LAW GROUP
 14                                         /s/ Jordan L. Kellogg
                                            Alexander M. Schack, Esq.
 15
                                            Natasha N. Serino, Esq.
 16                                         Shannon F. Nocon, Esq.
                                            Jordan L. Kellogg, Esq.
 17
                                            Attorneys for Plaintiffs
 18
 19
      Dated: February 13, 2024              COTCHETT, PITRE &McCARTHY, LLP

 20                                         /s/ Hannah K. Brown
 21                                         Gary A. Praglin, Esq.
                                            Kelly W. Weil, Esq.
 22                                         Hannah K. Brown, Esq.
 23                                         Attorneys for Plaintiffs

 24   Dated: February 13, 2024              LAW OFFICES OF GREGORY J. HOUT
 25
                                            /s/ Gregory J. Hout
 26                                         Gregory J. Hout, Esq.
 27                                         Attorney for Plaintiffs

 28                                              2
      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
      PURSUANT TO FRCP 41;
      LEAD CASE NO. 5:22-cv-01866-FLA-SHK
Case 5:22-cv-01866-FLA-SHK Document 228 Filed 02/13/24 Page 3 of 3 Page ID #:1298



  1                               SIGNATURE ATTESTATION
  2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Jordan L. Kellogg, attest that all other
  3   signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
  4   content and have authorized the filing.
  5
  6   Dated: February 13, 2024                             /s/ Jordan L. Kellogg
  7                                                        Jordan L. Kellogg
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      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
      PURSUANT TO FRCP 41;
      LEAD CASE NO. 5:22-cv-01866-FLA-SHK
